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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    VIRGINIA L. GIUFFRE,

                        Plaintiff,
                                                19 Civ. 3377 (LAP)
    -against-
                                                        ORDER
    ALAN DERSHOWITZ,

                        Defendant.



LORETTA A. PRESKA, Senior United States District Judge:

        The Court has reviewed Defendant Alan Dershowitz’s letter

dated July 3, 2020, seeking leave to file (1) an emergency motion

for a stay pending appeal of the Court’s order dated July 1, 2020;

(2) a non-emergency motion to clarify the Court’s July 1 order;

and (3) a non-emergency motion to disqualify counsel for Plaintiff

Virginia Giuffre, Cooper & Kirk [dkt. no. 146].

        The Court’s July 1 order [dkt. no. 144] is hereby stayed

pending further order of the Court.          Ms. Giuffre shall respond to

Mr. Dershowitz’s requests by letter no later than July 7, 2020.

Mr. Dershowitz shall reply to Ms. Giuffre no later than July 10,

2020.1

SO ORDERED.

Dated:          New York, New York
                July 3, 2020


1 Chambers provided a copy of this order to counsel for the parties
on Friday, July 3, 2020. The order was not docketed that day due
to the federal holiday.
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                      LORETTA A. PRESKA
                      Senior United States District Judge




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